
Filed 1/15/02 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA



ORDER



2002 ND 12

Supreme Court No. 20020004





In The Matter of The Judicial Vacancy in District Judgeship No. &nbsp;2

With Chambers in Minot, North Dakota,

Northwest Judicial District





[¶1]	On January 3, 2002, the Supreme Court received notification the Honorable Everett Nels Olson, Judge of the District Court with chambers in Minot, Northwest Judicial District, would not seek reelection when his term expired &nbsp;at the end of this year. &nbsp;Judge Olson's declaration that he does not intend to seek reelection to Judgeship No. 2 created a judicial vacancy under Section 27-05-

02.1(4), N.D.C.C.

[¶2]	Under Section 27-05-02.1, N.D.C.C., this Court is required to review vacancies that occur and determine, within 90 days of receiving notice of a vacancy, whether the office is necessary for effective judicial administration. &nbsp;This Court may, consistent with that determination, order the vacancy be filled or order the vacant office transferred to a judicial district in which an additional judge is necessary, to be filled in that district.

[¶3]	In October and November, 2001, this Court had occasion to receive and review testimony on judicial service needs, population and caseload trends, and other criteria identified in Administrative Rule 7.2, Section 4, in the Northwest Judicial District. &nbsp;This review and the associated consultation were conducted in light of the untimely death of the Honorable Glenn Dill, III, who held Judgeship No. 6, with chambers at Minot, in the Northwest Judicial District. &nbsp;
See
 In the Matter of the Judicial Vacancy In District Judgeship No. 6, with Chambers In Minot, North Dakota, Northwest Judicial District, 2001 ND 199.

[¶4]	We take judicial notice of the information contained in that file, including information resulting from the consultation with judges and lawyers of the Northwest Judicial District. &nbsp;An additional hearing was not conducted in Minot concerning the vacancy in Judgeship No. 2. &nbsp;For purposes of the consultation provided for under Section 27-05-02.1(4), N.D.C.C., &nbsp;the November 27, 2001, consultation with lawyers and judges of the district is sufficient for determining the disposition of this vacancy. &nbsp;
See
 
e.g.
, In the Matter of the Judicial Vacancy In District Judgeship No. 2, with Chambers In Grand Forks, North Dakota, Northeast Central Judicial District, 2000 ND 35.

[¶5]	We have reviewed whether the transfer of the vacant office to another judicial district is warranted in light of the information received.

[¶6]	This order is based on the determination that the office is necessary for effective judicial administration in its present location.

[¶7]	IT IS HEREBY ORDERED, that Judgeship No. 2 &nbsp;at Minot in the Northwest Judicial District be filled; that an election for this office be held; and that this office appear on the 2002 primary and general election ballots in North Dakota.

[¶8]	Dated at Bismarck, North Dakota, this 15th day of January, 2002.

[¶9]	Gerald W. VandeWalle, C.J.

Dale V. Sandstrom

William A. Neumann

Carol Ronning Kapsner

Mary Muehlen Maring



